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                              UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                        ORLANDO DIVISION

TAMARA MOHR-JONES,

                       Plaintiff,

v.                                                            Case No: 6:17-cv-1849-Orl-22GJK

OCWEN LOAN SERVICING, LLC,

                       Defendant.


                                     ORDER OF DISMISSAL

       The Court has been advised by counsel for Plaintiff that the above-styled action has

been settled. (Doc. No. 25) Accordingly, pursuant to Local Rule 3.08(b) M.D.Fla., it is

       ORDERED AND ADJUDGED that this cause is hereby DISMISSED without

prejudice and subject to the right of the parties, within sixty (60) days of the date of this order, to

submit a stipulated form of final order or judgment should they so choose or for any party to

move to reopen the action, upon good cause shown. After that 60-day period, however,

dismissal shall be with prejudice. Any pending motions are denied as moot and the Clerk is

directed to close the file.

       DONE and ORDERED at Orlando, Florida on March 19, 2018.




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Counsel of Record
